           Case 3:08-cr-30235-NJR                        Document 480 Filed 05/03/11                       Page 1 of 7           Page ID
                                                                   #1513
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT                                                     ~~~/s~~~crlflcr
                                                                                                                                0IV       r 0 cOu
                                                         Southern District of Illinois                                                01010, 1" 1« Ifr
                                                                                                                                          Cs      IIVOIS
              UNITED STATES OF AMERICA                                     ~       JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                    HORATIO J. WATSON                                      )       Case Number:           3 :08CR30235-002-GPM
                                                                           )       USMNumber:             08050-025
                                                                           )
                                                                           )       Paul Christenson
                                                                                   Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)         I, 2 & 3 of the Third Superseding Indictment

Q pleaded nolo contendere to count(s)
  which was accepted by the court.
9. was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                 Count
21 USC 841(a)(I), 846,            Conspiracy to distribute crack cocaine                                       8/112008                     I
841(b)(I)(A)(iii), 18 USC
2
21 USC 841(a)(I),                 Distribution of crack cocaine                                                7/28/2008                   2,3
(b)(I)(C)


       The defendant is sentenced as provided in pages 2 through           _ _7'---_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Q The defendant has been found not guilty on count(s)
Q Count(s)                                                o is     o are dismissed on the motion of the United States.
                        -----------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notifY the court and United States attorney of material changes in economiC circumstances.


                                                                           ~~~~~~-------------------------------------




                                                                           Han. G. Patrick Murphy, U. S. District Judge
                                                                           Name a:.. T. l~ of JUd
                                                                                                    g




                                                                        Dale...
                                                                               ~5!        d.3 . 1/  h
                                                                                                    /
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AO 2458       (Rev. 09/08) Judgment in Criminal Case
              Sheet 2   Imprisonment
                                                                                                             Judgment - Page   _~2,--_   of
DEFENDANT:                         HORATIO J. WATSON
CASE NUMBER:                       3:08CR30235-002-GPM2


                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

78 TOTAL MONTHS ON COUNT(S) 1,2 & 3 oflhe Third Superseding Indictment                            ALL COUNTS TO RUN CONCURRENT WITH EACH
OTHER



    D     The court makes the following recommendations to the Bureau of Prisons:




    t8!   The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
          o     at    _________ Q                           a.m.    D   p.m.      on
          o     as notified by the United States Marshal.

    9.    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o     before 2 p.m. on

          o     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                                  to
a                                        _ _ _ _ _ .. , with a certified copy of this judgment.




                                                                                                          UNITED STATES MARSHAL



                                                                               By _ _ _ _~~~~~~~~~~~
                                                                                                       DEPUTY UNITED STATES MARSHAL--·------
               Case 3:08-cr-30235-NJR                       Document 480 Filed 05/03/11                              Page 3 of 7             Page ID
                                                                      #1515
A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3    Supervised Release
                                                                                                                      Judgment-Page __3__ of
DEFENDANT:                      HORATIO 1. WATSON
CASE NUMBER:                    3:08CR30235-002-GPM
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 TOTAL YEARS ON COUNT(S) Ii) 2 & 3 ofthe Third Supersedin2lndictment. This term consists of 5 years on Ct. 1, and 3 years on Cts. 2 &
3. ALL COUNTS TO RUN CONC RRENT WITH EACH OTHER.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court, not to exceed 52 tests in one year.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. if applicable.)

         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall complY with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed by
         the probation office~ .the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a stuaent, or was
         convicted of a qualilying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet oftliis judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess) use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physicIan;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant.sh.a11 not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permIsSion to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          court; and

 13)      as directe4 by the probation .officer, the defendat).t shall notify third parties of risks that may pe occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such nottficatlons and to contirm the defendant's compliance with
          such notification requirement.
          Case 3:08-cr-30235-NJR                     Document 480 Filed 05/03/11           Page 4 of 7           Page ID
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                           Judgment   Page   4     of
DEFENDANT:                HORATIO J. WATSON
CASE NUMBER:              3:08CR30235-002-GPM

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall pay any financial penalty that is imposed by this Judgment and that remains unpaid at the time of supervised
release, or during the term of probation.
Defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with
access to any requested financial information. Defendant is advised that the probation office may share financial information
with the Financial Litigation Unit.
Defendant shall apply all monies received from income tax refunds, lottery winnings, judgments andlor any other anticipated
or unexpected financial gains to the outstanding court ordered financial obligation. Defendant shall immediately notity the
probation officer of the receipt of any indicated monies.
Defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis andlor other drug detection measures and which may require
residence andlor participation in a residential treatment facility. The number of drug tests shall not exceed 52 tests m a one
year period. Any particIpation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the
costs associated with substance abuse counseling andlor testing based on a copay sliding fee scale as directed and approved
by the United States Probation Office. The copay shall never exceed the total costs of counseling
Defendant shall submit hislher person, residence, real property, place of business, computer, electronic communication and
data storage device or media, vehicle, and any other property under hislher control to a search, conducted by any United
States Probation Officer and such other law enforcement personnel as the probation officer may deem advisable and at the
direction of the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of release, without a warrant. Failure to submit to such a
search may be grounds for revocation. The defendant shall inform any other residents that the premises and other property
under the defendant's control may be subject to a search pursuant to this condition.
Defendant shall participate in any program deemed appropriate to improve job readiness skills, which may include
participation in a GED program or Workforce Development Program, as directed by the probation officer
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                                                                     #1517
AO 2458   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment   Page   ~5~____   of
DEFENDANT:                        HORATIO I. WATSON
CASE NUMBER:                      3:08CR30235-002-GPM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                             Fine                                    Restitution
TOTALS            $   300                                                 $ 600                                    $ 0


     The determination of restitution is deferred until                   An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

9.   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664l1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                 Total Loss*                           Restitution Ordered                         Priority or Percentage




TOTALS                              $                             $0.00           $ ____________~$O~.O~O~


 o    Restitution amount ordered pursuant to plea agreement $

9.    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ~   the interest requirement is waived for the             ~fine      .9. restitution.

     9.   the interest requirement for the           9.   fine    0      restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, tl0A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
           Case 3:08-cr-30235-NJR                     Document 480 Filed 05/03/11                     Page 6 of 7             Page ID
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A0245B     (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5A - Criminal Monetary Penalties
                                                                                                     Judgment-Page        6     of
DEFENDANT:                 HORATIO). WATSON
CASE NUMBER:               3:08CR30235-002-GPM

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENAL TIES

All financial penalties are payable through the Clerk of the District Court, 750 Missouri Ave., E. 8t. Louis, IL 62201.
             Case 3:08-cr-30235-NJR                     Document 480 Filed 05/03/11                          Page 7 of 7             Page ID
                                                                  #1519
AO 2458    (Rev_ 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                            Judgment -   Page    7      of
DEFENDANT:                   HORATIO]. WATSON
CASE NUMBER:                 3:08CR30235-002-GPM


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    9.    Lump sum payment of $                             due immediately, balance due

                  not later than                                   , or
                  in accordance          9.    C,     Q D,    9.     E,or       Q    F below; or

 B    §!    Payment to begin immediately (may be combined with              Q   C,      ~    D,     Q    F below); or

 C    Q     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $               over a period of
                         (e.g., months or years), to commence ___._ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D    E!   Payment in equal        monthly      (e.g., weekly, monthly, quarterly) installments of $ 100               over a period of
             months      (e.g., months or years), to commence ___      30_ _ (e.g., 30 or 60 days) after release from imprisonment to a
           tenn of supervision; or

 E    .Q    Payment during the tenn of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

 F    [J    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount
      and corresponding payee, if appropriate.                                                                               •




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 []   The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order:     (11
                                                         assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
 (5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.                  '
